        Case 1:20-cv-04833-JPB-AJB Document 1 Filed 11/30/20 Page 1 of 7




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


                                                         Civil Action No.: ___________________
RAIZEL KATZ,

                              Plaintiff,
       vs.                                               COMPLAINT FOR VIOLATIONS OF
                                                         THE FAIR CREDIT REPORTING ACT

EQUIFAX INFORMATION SERVICES, LLC,

                                                         DEMAND FOR JURY TRIAL
                              Defendant.


       Plaintiff Raizel Katz (“Plaintiff”) brings this action against defendant Equifax

Information Services, LLC (“Equifax” or “Defendant”) and alleges based upon Plaintiff’s

personal knowledge, the investigation of counsel, and information and belief, as follows:

                                   NATURE OF THE ACTION

       1.      This is an action to recover damages for violations of the Fair Credit Reporting

Act (“FCRA”), 15 U.S.C. §1681, et seq.           Defendant Equifax reporting inaccurate account

balance and scheduled monthly payment information on Plaintiff’s Citicard/CBNA and Bank of

America accounts. Although Plaintiff disputed the reporting in writing, Defendant failed to

investigate Plaintiff’s claims, and failed to remove the misleading information. Plaintiff was

later denied an extension of credit based on information contained in Plaintiff’s Equifax report,

and have been forced to deal with aggravation and humiliation of a poor credit score.

Accordingly, Plaintiff is entitled to damages.




                                                 -1-
        Case 1:20-cv-04833-JPB-AJB Document 1 Filed 11/30/20 Page 2 of 7




                                 JURISDICTION AND VENUE

       2.      The claims asserted in this complaint arise under §1681e and §1681i of the

FCRA. This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §1331

and 15 U.S.C. §1681p.

       3.      Venue is proper in this judicial district under 28 U.S.C. § 1391(b).

                                            PARTIES

       4.      Plaintiff resides in Brooklyn, New York, and qualifies as a “consumer” as that

term is defined under 15 U.S.C. § 1681a(c). Plaintiff is an individual.

       5.      Defendant Equifax is a Georgia corporation that maintains its principal place of

business in this district. Equifax qualifies as a “consumer reporting agency” under the FCRA.

                              SUBSTANTIVE ALLEGATIONS

The FCRA

       6.      The FCRA is a federal statute designed to protect consumers from the harmful

effects of inaccurate information contained in their consumer credit reports. Thus, Congress

enshrined the principles of “fair and accurate credit reporting” and the “need to ensure that

consumer reporting agencies exercise their grave responsibilities with fairness” in the very first

provision of the FCRA, as follows:

               (1) “The banking system is dependent upon fair and accurate
               credit reporting. Inaccurate credit reports directly impair the
               efficiency of the banking system, and unfair credit reporting
               methods undermine the public confidence, which is essential to the
               continued functioning of the banking system.
               (2) An elaborate mechanism has been developed for investigating
               and evaluating the creditworthiness, credit standing, credit
               capacity, character, and general reputation of consumers.
               (3) Consumer reporting agencies have assumed a vital role in
               assembling and evaluating consumer credit and other information
               on consumers.


                                               -2-
        Case 1:20-cv-04833-JPB-AJB Document 1 Filed 11/30/20 Page 3 of 7




               (4) There is a need to ensure that consumer reporting agencies
               exercise their grave responsibilities with fairness, impartiality, and
               a respect for the consumer’s right to privacy.
                                                15 U.S.C. §1681a (emphasis added).
       7.      To that end, the FCRA imposes the following twin duties on consumer reporting

agencies (or credit bureaus): (i) credit bureaus must assure maximum possible accuracy of

information when preparing consumer reports and to set up reasonable procedures to maintain

compliance with this minimum reporting standard; and (ii) credit bureaus must reinvestigate the

facts and circumstances surrounding a consumer’s dispute and to appropriately and timely

correct any inaccuracies.

       8.      In addition, credit bureaus must promptly notify the furnisher and any other

parties in the distribution chain of the disputed inaccuracies.

       9.      Defendant compiles, maintains, and reports information concerning Plaintiff’s

creditworthiness, credit-standing, credit capacity, character, and reputation. That information is

then made available for use by third parties in credit transactions involving consumers, for

employment purposes, the underwriting of insurance for consumers, and even housing.

       10.     Plaintiff has a legally protected interest in Defendant fulfilling its duties under the

FCRA, so that the information is reported and maintained fairly, to support maximum levels of

confidentiality, accuracy, and relevancy.

Defendant Violated the FCRA By Reporting Inaccurate Information on Plaintiff’s Credit
Reports, and Subsequently Failed to Investigate and Correct the Inaccurate Information

       11.     Defendant sold credit reports containing inaccurate scheduled payment amount

information regarding Plaintiff’s Citicards/CBNA account. Specifically, although that account

was paid and closed, Equifax continued to report that Plaintiff had a scheduled monthly payment




                                                -3-
        Case 1:20-cv-04833-JPB-AJB Document 1 Filed 11/30/20 Page 4 of 7




obligation. This reporting was materially misleading and adversely affected Plaintiff’s credit

score because it conveyed that Plaintiff’s disposable monthly income was less than it really was.

       12.     Equifax also reported inaccurate account balance and amount past due

information on Plaintiff’s Bank of America account. Specifically, Equifax reported an amount

past due that was inconsistent with the outstanding balance on the account. This reporting was

materially misleading and adversely affected Plaintiff’s credit score.

       13.     On February 6, 2020, Plaintiff sent a letter to Equifax’s FCRA compliance

department disputing the accuracy of the reporting.

       14.     The receipt of Plaintiff’s dispute letter triggered an obligation for Defendant to

conduct an investigation, mark the accounts as disputed, and correct the reporting.

       15.     Equifax, however, failed to conduct an investigation and failed to remove the

misleading scheduled payment amount on the Citi account, and failed to mark the Bank of

America account as disputed.

       16.     Plaintiff was later denied the extension of further credit on the basis of the

inaccurate reporting.

Defendant Failed to Maintain Adequate Policies and Procedures

       17.     Defendant systematically violated the FCRA by failing to adhere to and maintain

reasonable procedures to assure the maximum possible accuracy of the information in the

consumer background reports it published.

       18.     Upon receiving Plaintiff’s dispute, Defendant was legally required, but failed, to:

(i) conduct a reasonable investigation or reinvestigation into all the circumstances surrounding

the dispute; and (ii) when and if appropriate, remove any inaccurate information following the

performance of the reasonable investigation.




                                               -4-
        Case 1:20-cv-04833-JPB-AJB Document 1 Filed 11/30/20 Page 5 of 7




       19.     Accordingly, Plaintiff is entitled to damages.         Plaintiff has suffered actual

damages through harm to Plaintiff’s consumer background reputation and overall credit score, by

missing opportunities, and by being denied the ability to procure additional credit.

                                     CAUSES OF ACTION

                                             COUNT I

         Against Equifax for Violations of the FCRA, 15 U.S.C. §§ 1681e and 1681i

       20.     Plaintiff repeats and realleges the foregoing allegations if set forth in full herein.

       21.     The FCRA imposes a duty on credit reporting agencies to devise and implement

procedures to assure the “maximum possible accuracy” of credit reports, as follows:

               Whenever a consumer reporting agency prepares a consumer
               report, it shall follow reasonable procedures to assure maximum
               possible accuracy of the information concerning the individual
               about whom the report relates.
                                            15 U.S.C. §1681e(b) (emphasis added).

       22.     Upon receiving a consumer’s dispute, credit reporting agencies are legally

required to conduct an investigation and correct the disputed information contained in the report,

as follows:

               …if the completeness or accuracy of any item of information
               contained in a consumer’s file at a consumer reporting agency is
               disputed by the consumer and the consumer notifies the agency
               directly, or indirectly through a reseller, of such dispute, the
               agency shall, free of charge, conduct a reasonable
               reinvestigation to determine whether the disputed information is
               inaccurate and record the current status of the disputed
               information, or delete the item from the file in accordance with
               paragraph (5), before the end of the 30-day period beginning on the
               date on which the agency receives the notice of the dispute from
               the consumer or reseller.
                                                  Id. §1681i(a)(1) (emphasis added)




                                                -5-
        Case 1:20-cv-04833-JPB-AJB Document 1 Filed 11/30/20 Page 6 of 7




       23.     Credit reporting agencies are further required to provide prompt notice of the

consumer’s dispute to the furnisher of the disputed information, as follows

               Before the expiration of the 5-business-day period beginning on
               the date on which a consumer reporting agency receives notice of a
               dispute from any consumer or a reseller in accordance with
               paragraph (1), the agency shall provide notification of the dispute
               to any person who provided any item of information in dispute, at
               the address and in the manner established with the person. The
               notice shall include all relevant information regarding the dispute
               that the agency has received from the consumer or reseller.
                                                 Id. §1681i(a)(2) (emphasis added).

       24.     Equifax failed to follow reasonable procedures to ensure maximum possible

accuracy of the information reported on Plaintiff’s credit reports. Although Plaintiff disputed the

inaccurate information in writing, Equifax willfully, or at least negligently, failed to perform a

reasonable investigation and failed to remove the inaccurate information.

       25.     Equifax’s willful and/or negligent failure to follow reasonable policies and

procedures, failure to perform a reasonable investigation and failure to remove the inaccurate

information was a direct and proximate cause of Plaintiff’s injury.

       26.     As a result of Equifax’s statutory violations, Plaintiff suffered statutory and actual

damages as described herein and is entitled to recover statutory, actual, and punitive damages

under 15 U.S.C. §§1681n and 1681o.

                                            JURY DEMAND

       Plaintiff demands a trial by jury.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands a judgment:

       a)      awarding Plaintiff statutory money damages, actual damages and punitive

damages, including pre-judgment and post-judgment interest;



                                                -6-
      Case 1:20-cv-04833-JPB-AJB Document 1 Filed 11/30/20 Page 7 of 7




     b)    awarding attorneys’ fees and costs, and other relief; and

     c)    awarding such other relief as to this Court may seem just and proper.

DATED: November 24, 2020                  THE OAKS FIRM


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                                           -7-
